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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA
                                    Holding a Criminal Term
                            Grand Jury Sworn in on February 15, 2022

UNITED STATES OF AMERICA                          :CRIMINAL NO. 22-cr-

                 v.                                  GRAND JURY ORIGINAL

THOMAS SMITH,                                        VIOLATIONS:

                 Defendant.                          COUNTS 1-2:       U.S.C. §242
                                                                       18
                                                     (Deprivation of Rights Under Color of Law)

                                                     COUNT 3:     U.S.C. § 1512(b)(3)
                                                                  18
                                                                 of
                                                     (Obstruction Justice)

                                                     COUNTS 4-6:     18 U.S.C. § 1519
                                                     (Falsification of Records)

                                                     COUNT 7:     18   U.S.C. § 100l(a)(2)
                                                     (False Statements)



                                           INDICTMENT

          The Grand Jury charges that, at times material to this Indictment, on or about the dates and

at the approximate times stated below:

                                    FACTUAL ALLEGATIONS
                                             Introduction

          l.     The laws of the United States and the Fifth Amendment to the United States

Constitution provide that the government shall not deprive any person of life or liberty without

due process    of law. That includes the right for any person    to be free from a law enforcement


ofcer’s    deliberate indifference to substantial risks ofharm and serious medical needs arising from

a govemment—created danger.
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          2.       The United States Capitol Police (“USCP”) is a law enforcement agency of the

United States responsible for, among other things, upholding the Constitution.

          3.       Defendant THOMAS SMITH was a sworn USCP ofcer          with more than ten years’

experience on the force. He was assigned as a patrol officer to the Special Operations
                                                                                       Division

and was trained in and aware of the duties and responsibilities of USCP ofcers
                                                                                      and   of USCP

policies and procedures.

          4.       Beginning at 6:00 p.m. on June 20, 2020, and extending into the early morning

hours of June 21, 2020,     SMITH was on duty   as a uniformed   USCP ofcer,   assigned to vehicular


patrol. His duties included conducting security checks at the homes of Members of
                                                                                  Congress,

                                                                                              to the
which are referred to within USCP as “dignitary checks.” SMITH reported for his shi

Fairchild Building, a USCP station located at 499 South Capitol Street, Southeast, and was

assigned to drive a marked USCP sedan, which he occupied by himself.

                       SMITH’S Deprivation of W.W.’s Right to Due Process
                    Through Reckless Endangerment and Deliberate Indifference

          5.       On June 20, 2020, around 11:34 p.m., when he was supposed to be conducting a

                                                                           the District of
dignitary check in Georgetown, a neighborhood in the Northwest quadrant of

Columbia, SMITH pursued two motorized cycles, one of which was driven by W.W.
                                                                              SMITH

                                                                                        Avenue
followed closely behind these vehicles at a high rate of speed, southbound on Wisconsin

between Reservoir Road and M Street.

          6.       Although USCP policies and procedures prohibit police vehicular pursuits outside

the Capitol grounds, except in emergencies and only upon supervisory approval,
                                                                                     SMITH did not

                                                                                    motorized cycles.
notify dispatch or seek supervisory approval to conduct a vehicular pursuit ofthe

           7.      As SMITH    and   W.W. approached the intersection of Wisconsin Avenue and M

Street,   SMITH accelerated the USCP sedan, swerved towards W.W.’s motorized cycle, and struck
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it. In doing so,   SMITH caused W.W.’s motorized cycle to crash, knocking W.W. into                the air


before he hit the asphalt roadway.

        8.       SMITH drove his sedan around W.W., who lay in           the roadway, and through the


intersection. SMITI-I then ed    the trafc   collision scene by accelerating southbound on Wisconsin

Avenue, towards the Potomac riverfront.

        9.       Although USCP policies and procedures require USCP oicers             to notify the USCP


dispatcher, a supervisor, and the Metropolitan Police Department         (“MPD”) of a traffic collision

occurring while on duty outside the Capitol grounds, at no point aer                crashing into W.W.’s

                                                                                  assistance
motorized cycle did SMITH notify anyone. SMITH took no action to seek any medical

for W.W. and to ensure that no further harm came to him as he lay in the roadway.

        10.      W.W.   suered   bodily injury   'om   the collision, including abrasions to the face,


head, arms, and knees, and a possible concussion and seizure.

   SMITH’S Attempt to Conceal Colliding his USCP Sedan into W.W.’s Motorized Cvcle

        11.      After the collision, before his shift ended on June 21, 2020, SMITH attempted to

                                                                                  damaged USCP
hide his involvement in and responsibility for the collision by switching out the

sedan he drove into     W.W.’s motorized cycle with      a   USCP Sport Utility Vehicle (“SUV”),         as


follows.

        12.      Within ten minutes of eeing     the scene   of the collision,   on June 20, 2020, at 11:43


p.m., SMI'I‘I-I drove the USCP sedan, which had suffered visible damage in the
                                                                               collision, into a

parking garage back at USCP’s Fairchild Building in the Southeast quadrant of the District
                                                                                           of

Columbia.

         13.     At 11:50 p.m., SMITH logged       a false entry into the Computer Assisted Dispatch

                                                       record information to communicate to
                                                                                            USCP’Is
(CAD)    system, a system in which USCP ofcers
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    dispatch unit about their patrol work, location, and other information.               Specically,      SMITH

    entered the     CAD event type “APPEARS SECURE,” indicating that he had performed a dignitary

    check and that it appeared secure. He did not log any location. At the time, SMITH was sitting in

    the   USCP sedan in the parking garage, not conducting a dignitary check.

              14.      At 11:52 p.rn., SMITH drove       the    USCP sedan out of the parking garage of the

    Fairchild Building and into an outdoor USCP parking lot, where SMITH parked the car.

              15.      At approximately 12:02 a.m.,      on June 21, 2020,     SMITH exited the USCP sedan

    and walked from the parking lot to the Fairchild Building.          SMITH entered the Fairchild Building

    and remainedthere for approximately ve            minutes. During this time, SMITH left the keys to the
                                                                                                                      I




    USCP sedan on the desk of a vehicle eet           sergeant and obtained keys to a USCP SUV.

              16.      SMITH then made a false entry on           an Equipment   Log, a form on which USCP

    patrol ofcers     record their name, unit and vehicle assignment, and the date and time        of their shi.

    Specically,      SMITH falsely entered that       he had been assigned the     USCP SUV, not the USCP

    sedan, and falsely entered that he had begun his shi          at 10:00 p.m., instead of at 6:00 p.m.   SMITH

    did not submit an Equipment Log for the USCP sedan he drove into W.W.’s motorized cycle.

              17.      At 12:07 a.m., SMITH      le   the Fairchild Building and walked back to the            USCP

    outdoor parking lot, where he entered the USCP             SUV.

              18.      At   12:35 a.m.,   SMITH drove the USCP SUV to near the USCP sedan.

              19.      SMITH remained parked near         the   USCP sedan for almost two hours, until 2:30
I




    a.m., when SMITH drove the USCP              SUV    out   of the parking lot, just minutes before      a   USCP

    sergeant   (“USCP Sergeant”)—who           had been assigned to determine whether reports that a           USCP

    sedan had collided with W.W.’s motorized cycle were true—entered the parking lot to
                                                                                        look for the


    damaged USCP sedan.
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       20.     Sometime before the end of his shi,        after MPD ofcials    notied    USCP oicials

of the Georgetown crash, SMITH received a phone call from USCP Sergeant inquiring whether

SMITH had knowledge of the collision. SMITH made false                statements to   USCP Sergeant to

conceal his responsibility for the collision. Specically,      (a) SMITH falsely told USCP Sergeant

that he was not aware of and had not been involved in a trafc          collision involving a motorized

                                                                              and had been
cycle; and, (b) SMITH falsely told USCP Sergeant that he had been assigned to
                                                               y




driving the USCP SUV throughout his entire shift.

        21.    Sometime before the end of his shift, SMITH made a false entry on a Daily Vehicle

Inspection Report, a form on which USCP ofcers           record information about their assigned patrol

vehicle’s condition, maintenance, and mileage.          Specically,   SMITH falsely entered that the

SUV’s odometer reading at the start of his shift was ten miles lower than it was. SMITH did not

submit a Vehicle Inspection Report for the    USCP sedan he drove into W.W.’s motorized cycle.

                                            COUNT ONE
                 (18 U.S.C. § 242—Deprivation of Rights Under Color of Law)

        22.     The allegations in paragraphs   1   through 21 are realleged herein.

        23.     On June 20, 2020, in the District of Columbia, the defendant,

                                         THOMAS SMITH,
                                                                                               the
while acting under color of law, willfully deprived W.W. ofthe right, secured and protected by

Constitution and laws of the United States, to due process of law, which includes the right to
                                                                                               be


free from a government-created danger; that is,     SMITH placed W.W. at a substantial risk of serious

                                                                                       indifferent
harm by driving his vehicle recklessly and in a dangerous manner, and was deliberately

to the risk he created, resulting in bodily injury to   W.W. when SMITH’s USCP sedan crashed into

W.W.’s motorized cycle.

                     (In violation of Title l8, United States Code, Section 242)
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                                            COUNT TWO
                (18 U.S.C. § 242—Deprivation of Rights Under Color of Law)

       24.     The allegations in paragraphs    1   through 21 are realleged herein.

       25.     On June 20, 2020, in the District of Columbia, the defendant,

                                         THOMAS SMITH,
                                                                               and protected by the
while acting under color of law, willfully deprived W.W. of the right, secured

                                                                         includes the right to be
Constitution and laws of the United States, to due process of law, which

free from a law enforcement ofcer’s     deliberate indifference to his serious medical needs and other

                                                                    that is, aer       SMITH’s USCP
substantial risks of harm arising from a government-created danger;

sedan crashed into   W.W.’s motorized cycle that caused W.W. to su'er bodily injury, SMITH acted
                                                                            ngly driving away
with deliberate indifference to a substantial risk of harm to W.W. by knowi

                                                                       t taking other reasonable
without rendering aid, without alerting medical authorities, and withou

steps to obtain assistance for   W.W., despite the substantial risk that W.W. was injured and in need

of medical attention, and the substantial risk that W.W. would su‘er further serious harm.

                      (In violation of Title 18, United States Code, Section 242)

                                           COUNT THREE
                         (l8 U.S.C. § 1512(b)(3)——0bstruction of Justice)

        26.     The allegations in paragraphs l through 21 are realleged herein.

                Between June 20, 2020, and June 21, 2020, in the District of Columbia,
                                                                                       the
        27.

defendant,

                                          THOMAS SMITH,
                                                                             intent to hinder, delay, and
knowingly engaged in misleading conduct toward another person, with

prevent the communication to a law enforcement ofcer               of the United States of information

                                                                        ; that is, to hinder, delay,
relating to the commission and possible commission of a Federal offense
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and prevent communication to      USCP of information concerning SMITH’s collision with W.W.’s
                                                                        including by failing to
motorized cycle and its aftermath, SMITH attempted to hide his conduct,

report the collision to USCP, MPD, and any other authority; switching
                                                                      out the         USCP SUV for the

USCP sedan; falsifying USCP forms;       and lying to     USCP Sergeant.

                   (In Violation of Title 18, United States Code, Section 1512(b)(3))

                                 COUNTS FOUR THROUGH SIX
               (18 U.S.C. § 1519—Falsification of Records in Federal Investigations)

         28.      The allegations in paragraphs    1   through 21 are realleged herein.

                  Between June 20, 2020, and June 21, 2020, in the District of Columbia,
                                                                                         the
         29.
                                                                                             I




defendant,

                                         THOMAS SMITH,

                                                           the investigation and proper administration   of
with the intent to impede, obstruct, and inuence

any matter within the jurisdiction of any department and agency
                                                                of the United States, and in

                                                                                  falsied,             and
relation to and contemplation of any such matter, altered, concealed, covered up,

                                                                           and inuence           USCP’s
made false entry in any record and document; that is, to impede, obstruct,

investigation of the USCP sedan’s collision with W.W.’s motorized cycle, SMITH
                                                                               made the


following false entries into USCP forms, logs, reports, and records:




  FOUR           SMITH’s false entry    into the Computer Assisted Dispatch system, as alleged in
                 paragraph 13.

                 SMITH’S false entry into a USCP Equipment Log, as alleged in paragraph          16.
  FIVE
                  SMITH’s false entry into   a   USCP Daily Vehicle Inspection Report,     as alleged in
  SIX
                 paragraph 21.


                      (In violation of Title 18, United States Code, Section 1519)
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                                       92mm
                         (18 U.s.c.   § 1001(a)(2)——Fa1se Statements)

       30.    The allegations in paragraphs   1   through 21 are realleged herein.

                                                               Distn'ct of Columbia, the
       31.    Between June 20, 2020, and June 21, 2020, in the
                2




defendant,

                                       THOMAS SMITH,
                                                                   and judicial branch of the
in a matter within the jurisdiction of the executive, legislative,

                                                                     ally false, ctitious        and
Government of the United States, knowingly and willfully made materi

fraudulent statements and representations; that is, in the matter
                                                                  of USCP’s investigation of the

                                                                    Sergeant that he had
USCP sedan’s collision with W.W.’s motorized cycle, SMITH told USCP
                                            USCP SUV throughout his entire       shi   on June 20-21,
been assigned to and had been driving the

2020, knowing that statement to be false.

                (In violation of Title 18, United States Code, Section 1001(a)(2))


                                                        A TRUE BILL


                                                        FOREPERSON




MATTHEW M. GRAVES                                        KRISTEN M. CLARKE
UNITED STATES ATTORNEY                                   ASSISTANT ATTORNEY GENERAL
FOR THE DISTRICT OF COLUMBIA                             CIVIL RIGHTS DIVISION
